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UNITED STATES DISTRICT COURT, NORTHERN DISTRICT OF GEORGIA

RONALD LEE COOPER Case No.: 1:24-CV-02526-LMM-CCB
Plaintiff/Petitioner

vs.

EQUIFAX INFORMATION SERVICES, LLC, ET AL. AFFIDAVIT OF SERVICE OF

Defendant/Respondent | SUMMONS; COMPLAINT; CIVIL COVER SHEET

Received by Marsha Lausman, on the 22nd day of June, 2021 at 10:47 PM to be served upon EXPERIAN
INFORMATION SOLUTIONS, INC. c/o C T Corporation System, REGISTERED AGENT at 289 S Culver St,
Lawrenceville, Gwinnett County, GA 30046-4805.

On the 23rd day of June, 2021 at 11:14 AM, i, Marsha Lausman, SERVED EXPERIAN INFORMATION SOLUTIONS,
INC. c/o C T Corporation System, REGISTERED AGENT at 289 S$ Culver St, Lawrenceville, Gwinnett County, GA
30046-4805 in the manner indicated below:

CORPORATE SERVICE, by personally delivering 1 copy(ies) of the above listed documents to the named Corporation,
by serving C ¥ Corporation System, REGISTERED AGENT, on behalf of said Corporation.

THE BESCRIPTION OF THE PERSON WITH WHOM THE COPY OF THIS PROCESS WAS LEFT IS AS FOLLOWS:
Who accepted service in accordance with social distancing requirements (placed the documents in a cleariy
visible place at least six feet away from the subject and advised the subject to retrieve them after stepping away},
with identity confirmed by subject saying yes when named, a gray-haired white female approx. 55-65 years of
age, 5'-5'4" tall and weighing 120-740 Ibs with glasses. Linda Banks, SOP

Service Fee Total: $62.00

Per U.S. Code § 1746, | declare under penalty of perjury under the laws of the United States of America that the foregoing
is true and correct.

NAME: WN dlacettnten un /4/ JUN 2.3 202) |

 

 

 

 

‘Marsha Lausman Server ID# JUN 2 3 2921 Date
Notary Public: Subscribed worn before me on this day of in the year of 20
Personally known fo me or identified by the following document:
ey in, Number/Reference:
SA FA 4h, ype:
s of wor: a, Notary Public for State of:
OEE : sy 44 = — Commission Expiration:
Notary Public (Légal Signature) =f GC XP ines wos
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REF: Cooper (EXPERIAN INFORMATION SOLUTIONS, INC.) Tracking #: 0072101328

 

 

 

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